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                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                      Newport News Division

 UNITED STATES OF AMERICA                             )
                                                      )
                 v.                                   ) CRIMINAL NO. 4:23CR54
                                                      )
 THOMAS WILSON                                        )


            GOVERNMENT'S RESPONSE TO DEFENDANT’S MOTION FOR BOND

          The United States of America by and through its attorney Erik S. Siebert, United States

 Attorney for the Eastern District of Virginia and Eric M. Hurt, Assistant United States Attorney

 submits to the Court that it opposes the defendant’s Motion for Reconsideration of Detention

 Order.

                                    PROCEDURAL HISTORY

          On April 18, 2024, the defendant, was charged by Indictment (4:23CR54) in the Eastern

 District of Virginia, Newport News Division, for Count Two, Conspiracy to Distribute Narcotics,

 in violation of 21 U.S.C. ' 846; Count Three, Conspiracy to Launder Money, in violation of 18

 U.S.C. ' 1956(h); Count One Hundred and Eighteen, Distribute Marijuana, Oxycodone and

 Fentanyl in violation of 21 U.S.C. ' 841; and Count One Hundred and Nineteen, Use of a

 Communication Device, in violation of 21 U.S.C. § 843.

          The defendant was arrested on May 8, 2024, and appeared before this Court for a detention

 hearing on May 12, 2024. The defendant waived his immediate detention hearing, and the Court

 ordered the defendant detained pending trial. The defendant pleaded guilty on November 7, 2024,

 to the lesser included offense of Count Two of the Second Superseding Indictment which carries

 a maximum penalty of 20 years in prison. His sentencing is set for August 1, 2025. The United

 States now responds that opposes the defendant’s Motion for Bond.
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        The Defendant Poses a Danger to the Community Requiring His Pretrial Detention

        The Bail Reform Act of 1984 explicitly dictates that danger to the community must be

 established by "clear and convincing" evidence. 18 U.S.C. § 3142. The statute also dictates,

 however, that, where there is probable cause to believe that the defendant has committed a drug

 trafficking crime carrying a penalty of over ten years in prison, the defendant is rebuttably

 presumed to be a risk of danger requiring detention.

        In establishing a presumption in cases such as the one sub judice, Congress recognizes

 that "the risk that a defendant will continue to engage in drug trafficking constitutes a danger to

 the safety of any other person or the community." S. Rep. 98-235, 98th Cong., 1st. Sess. at 13

 (hereinafter "S. Rep."). "Persons charged with major drug felonies are often in the business of

 importing or distributing dangerous drugs, and thus, because of the nature of the criminal activity

 with which they are charged, they pose a significant risk of pretrial recidivism." S. Rep. at 20.

 Accord United States v. Williams, 753 F.2d 329, 335 (4th Cir. 1985) (quoting S. Rep.).

         Wilson’s crime to which he pleaded guilty is far more serious than what is needed to

 merely trigger the presumption. Under the Bail Reform Act, the defendant’s charge of

 Conspiracy to Distribute Marijuana is more than enough to trigger the presumption of

 dangerousness since the charge carries a maximum of twenty years imprisonment. See 21

 U.S.C. § 841 (b)(1)(A). Thus, the Bail Reform Act reflects a Congressional intent of extreme

 reluctance to grant drug traffickers release. The Court should look upon defendant, in the same

 light that Congress intended: as a member of a significant drug trafficking conspiracy, who

 should not be released prior to sentencing.

        The finding of probable cause by the grand jury on April 18, 2024, triggers the

 presumption for purposes of any subsequent hearing. The fact that the defendant entered into an

 agreement and statement of facts where he admitted to the charged conduct in Count Two further

 strengthens the evidence against the defendant. Accordingly, this Court must proceed to
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 determine if the presumption can be rebutted. See Kaley v. United States, 134 S.Ct. 1090, 1098

 n.6 (2014) (listing numerous cases so holding); United States v. Contreras, 776 F.2d 51 (2d Cir.

 1985); United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985).

         The United States has established the defendant’s involvement in a high-level drug

 trafficking organization utilizing significant sources of evidence, to include his own statements

 on recorded telephone conversations and controlled purchases of marijuana. This evidence

 establishes that Wilson was involved in the organization of drug related activities and was

 actively trafficking in marijuana as evidence by the controlled purchase of marijuana.

         These activities are even more indicative of risk when combined with the defendant’s

 criminal history. In the defendant’s PSR, the probation department determined the defendant

 has a category V criminal history. ECF No. 1055. The defendant has prior convictions for

 assault and battery (0), trespassing (0), destroy private property (0), breaking and entering (0),

 possession of marijuana (0), assault and battery family (0), driving under revocation (0), petit

 larceny (2), assault and battery family (1), driving suspended (0), possession of firearm by felon

 and possession of marijuana with intent to distribute (3), false statement on criminal history (1),

 assault and battery family member (1), assault and battery family member (1), possession with

 intent to distribute marijuana (0), littering (1), reckless driving (0), failure to appear (0), eluding

 police (2) and reckless driving (0). One additional point was added because the defendant was

 under a criminal justice sentence at the time of the current offense. As a criminal history

 category V defendant, with an adjusted offense level of 15, the defendant’s sentencing guidelines

 range is 36-47 months on Count 2.

         This elevated criminal history, and the numerous convictions indicate an individual who

 is a danger to the community.
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       Wilson is a Risk of Flight Requiring Detention

        Release is to be denied in those cases where the district court finds the defendant poses an

 unreasonable risk of flight. The Government must prove that the defendant is an unreasonable

 risk of flight by a preponderance of the evidence. United States v. Stewart, 19 Fed.Appx. 46, 48

 (4th Cir. 2001); United States v. Chimurenga, 760 F.2d 400 (2d Cir. 1985); United States v.

 Fortna, 769 F.2d 243 (5th Cir. 1985). In this case the defendant admitted that a drug trafficking

 crime carrying more than ten (10) years imprisonment has been committed, the defendant is

 rebuttably presumed to be an unreasonable risk of flight. Title 18, United States Code, Section

 3142(f). In establishing a rebuttable presumption of flight in cases such as the one sub judice,

 Congress recognized that:

        [F]light to avoid prosecution is particularly high among persons charged with
        major drug offenses. Because of the extreme lucrative nature of drug trafficking,
        and the fact that drug traffickers often have established substantial ties outside the
        United States from whence most dangerous drugs are imported into the country,
        these persons have both the resources and foreign contacts to escape to other
        countries with relative ease in order to avoid prosecution for offenses punishable
        by lengthy prison sentences. Even the prospect of forfeiture of bond in the
        hundreds of thousands of dollars has proven to be ineffective in assuring the
        appearance of major drug traffickers.


 S. Rep. at 20 (footnote omitted).

        As noted supra, the fact that probable cause has been found by the grand jury is enough

 to trigger the presumption. This presumption is further strengthened by the defendant’s guilty

 plea to the lesser offense of Count Two. In addition to the presumption, the defendant faces a

 term of imprisonment of up to twenty years on the Conspiracy charge in this case, which is non-

 parolable. The calculated guidelines in this case are 37-46 months. Faced with such serious

 exposure, and given the defendant’s age, he has incentive to flee.
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                                          CONCLUSION

        The defendant poses a risk of danger to the community and a risk of flight which should

 preclude him being granted bail. Congress has recognized that in a case such as this one, "a

 strong probability arises that no form of conditional release will be adequate." S. Rep. at 19.

 The nature of the charges is aggravated by the great strength of the government's case, the

 defendant’s admission of guilt, the scope of the defendant’s drug dealing and the fact that the

 defendant faces a prison sentence without parole. For these and other reasons the defendant’s

 release should be denied.


                                              Respectfully submitted,

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                                              UNITED STATES ATTORNEY

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                                        Certificate of Service


         I certify that on May 12, 2025, I electronically filed the foregoing with the Clerk of Court
 using the CM/ECF system, which will send a notification of such filing to all counsel of record:


                                       By:   ______/s/__________________________
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